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                      EXHIBIT 1
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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JANE DOE, YOLENE REYES, and
DANIEL A. BARTELS, individually and on
behalf of similarly situated individuals,
                                                   Case No. 21-cv-6624
               Plaintiffs,
        v.                                         Hon. Gary S. Feinerman

FENIX INTERNET, LLC, a Delaware
limited liability company,

               Defendant.


                         DECLARATION OF LEE TAYLOR
                 IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS

        I, Lee Taylor, declare and state as follows:

        1.      I am a Director of Fenix International Limited (“Fenix International”), the sole

member of Fenix Internet LLC (“Fenix Internet”). I have been in that position since December

2021. In this role, I oversee the finances of Fenix International and its subsidiaries, including Fenix

Internet, as well as third-party supplier relationships.

        2.      I make this declaration based on my personal knowledge and/or knowledge acquired

through reasonable investigation. In preparation of this Declaration, I reviewed certain of Fenix

International’s internal records related to the registration of OnlyFans accounts and account

activity of the Plaintiffs, which were created and maintained in the course of regularly-conducted

business. I could competently testify to the matters set forth herein if called to do so as a witness

in court.

        3.      Fenix Internet is a Delaware limited liability company.
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       4.        Fenix Internet has its principal place of business at 501 Silverside Road, Suite

87AXK, Wilmington, Delaware, 19809.

       5.        Fenix International is incorporated and registered in England and Wales, with its

headquarters in London. Several key executives across strategic, financial, and human resource

roles are also based in the United Kingdom.

       6.        Fenix International operates the OnlyFans website (“OnlyFans”).               Fenix

International contracts and pays for the servers that host OnlyFans and owns all intellectual

property and trademarks related to OnlyFans. Employees and independent contractors of Fenix

International are responsible for the day-to-day operations of OnlyFans.

       7.        Fenix Internet does not operate OnlyFans. Fenix Internet does not have or pay for

servers of its own, does not own any intellectual property or trademarks related to OnlyFans, and is

not responsible for the day-to-day operations of OnlyFans.

       8.        As of June 1, 2022, there are 242,479,992 registered users on OnlyFans.

       9.        Fenix Internet provides payment processing services to the operator of OnlyFans,

Fenix International. In this role, Fenix Internet facilitates some of the payments between fans and

content creators. Specifically, Fenix Internet collects from third-party processors, as instructed by

Fenix International, payments made by fans and distributes the money it collects through other

third-party providers to content creators.

       10.       Fenix Internet’s sole responsibility is to perform payment assistance for Fenix

International.

       11.       Fenix Internet does not use or require biometric data to process payments for

transactions conducted on OnlyFans, as described in paragraph 9 above.




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        12.     Fenix Internet does not collect, possess, or store biometric data, and has never

collected, possessed, or stored biometric data.

        13.     When an OnlyFans content creator undergoes the automated age-verification

process identified in the claims asserted in the Second Amended Class Action Complaint filed by

Jane Doe, Yolene Reyes, and Daniel A. Bartels on April 21, 2022 (the “Complaint”), Fenix

International engages one of its third-party vendors to conduct part of that verification process (the

“Third-Party Verification Process”). The information used to perform the Third-Party Verification

Process is collected on the vendor’s website. Fenix Internet is not involved in conducting the

Third-Party Verification Process and is not a party to the contracts with the vendors who perform

that verification for Fenix International. 1

        14.     Fenix International contracts with a third-party French vendor that owns and

operates the automated content review system described in the Complaint (the “Third-Party Content

Review System”). Fenix Internet is not a party to that contract and does not interact with the vendor

or the Third-Party Content Review System it operates for Fenix International.

        15.     Fenix Internet has no property or employees in Illinois.

        16.     Fenix Internet does not engage in marketing, sales, or commercial activity targeted

at residents of Illinois or related to the claims asserted in the Complaint.

        17.     Fenix Internet is not registered to do business in Illinois.

        18.     A true and correct copy of the OnlyFans Terms of Service is attached hereto as

Exhibit A.

        19.     The Terms of Service govern the legal relationship between OnlyFans and content

creators and fans that use OnlyFans. Anyone who is a content creator or fan on OnlyFans has


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  Fenix Internet maintains that the Third-Party Verification Process and the Third-Party Content Review
System identified in the Complaint do not support Plaintiffs’ BIPA claims asserted in the Complaint.

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agreed to the Terms of Service. As set forth in the Terms of Service, by registering with and using

OnlyFans, content creators and fans accepted and agreed to be bound by and abide by the Terms

of Service.

       20.     At all times, the Terms of Service, in their various iterations, have been posted in

their entirety and are readily available on OnlyFans.

       21.     The Complaint alleges that Plaintiff Jane Doe created her OnlyFans account “in

summer 2019.” Fenix International’s internal records show that the individual identified in the

Complaint as Plaintiff Doe created her OnlyFans account as a content creator on May 20, 2020.

Internal records further confirm that, at that time, she was presented with the Terms of Service and

affirmatively assented to them. Plaintiff Doe has earned thousands of dollars from multiple payouts

as a content creator on OnlyFans, with earnings transactions occurring as recently as May 27, 2022.

Further, Plaintiff Doe was notified about amendments to the Terms of Service when she logged in

to OnlyFans on December 18, 2021, and affirmatively assented to the amended Terms of Service

after being given an opportunity to review them.

       22.     The Complaint alleges that Plaintiff Yolene Reyes created her OnlyFans account

“[i]n or around February of 2021.” Fenix International’s internal records show that Plaintiff Reyes

registered an OnlyFans account as a content creator on January 18, 2020. Internal records further

confirm that, in January 2020, when Plaintiff Reyes registered her OnlyFans creator account, she

was presented with the Terms of Service and affirmatively assented to them. Plaintiff Reyes has

earned thousands of dollars from multiple payouts as a content creator on OnlyFans, with earnings

transactions occurring as recently as May 22, 2022. Further, Plaintiff Reyes was notified when she

logged in to OnlyFans on December 16, 2021 about amendments to the Terms of Service, and




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affirmatively assented to the amended Terms of Service after being given an opportunity to review

them.

        23.    The Complaint alleges that “[i]n or about December 2020” Plaintiff Daniel A.

Bartels discovered that a video featuring him had been uploaded to OnlyFans and listed as paid

content and that he “is not a content creator and had never had any interactions with Onlyfans.com

and had never consented to the video being uploaded or sold.” Fenix International’s internal

records show that Plaintiff Bartels registered an OnlyFans account as a fan on May 1, 2020,

registered a second OnlyFans account as a fan on January 25, 2021, and purchased content on

OnlyFans with both accounts. Fenix International’s internal records further confirm that each time

Plaintiff Bartels registered an OnlyFans fan account, he was presented with the Terms of Service

and affirmatively assented to them. Further, Plaintiff Bartels was notified when he logged in to

OnlyFans on December 15, 2021 about amendments to the Terms of Service, and affirmatively

assented to the amended Terms of Service after being given an opportunity to review them.

        24.    Counsel for Fenix Internet identified for me the video in which Plaintiff Bartels

appears that his claims are based on, as well as the content creator account that posted it on

OnlyFans. Fenix International’s internal records show that the video in which Plaintiff Bartels

appears was posted by a content creator account to which Bartels was a paid subscriber at the time

the video was posted on OnlyFans.

        25.    The Terms of Service that Plaintiffs agreed to and that existed throughout the time

they were users included a forum-selection clause requiring any dispute concerning OnlyFans

brought by one of its users be resolved in the courts of England and Wales.




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         26.   I have reviewed the jurisdictional allegations related to Fenix Internet in

paragraph 16 of the Complaint and consider those allegations inaccurate for the reasons set forth

above.

         27.   Fenix Internet and Fenix International agree to stipulate to personal jurisdiction and

service in England and Wales if Plaintiffs wish to pursue this suit in the courts of England and

Wales.




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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed June 2, 2022.



                                                    Lee Taylor




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                      EXHIBIT A
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    TERMS OF SERVICE




    Contents
    1.        Terms of Use for all Users

    2.        Terms of Use for Fans

    3.        Terms of Use for Creators

    4.        Acceptable Use Policy

    5.        Referral Program Terms

    6.        Complaints Policy

    7.        Platform to Business Regulation Terms

    TERMS OF USE FOR ALL USERS
    BY USING OUR WEBSITE YOU AGREE TO THESE TERMS – PLEASE READ THEM
    CAREFULLY
         1.       Introduction: These Terms of Use for all Users govern your use of OnlyFans and
                  your agreement with us.

         2.       Interpretation: In the Terms of Service:

                  a.   we refer to our website as "OnlyFans", including when accessed via the
                       URL www.onlyfans.com;

                  b.   references to "we", "our", "us" are references to Fenix International Limited,
                       the operator of OnlyFans;

                  c.   "Content" means any material uploaded to OnlyFans by any User (whether
                       a Creator or a Fan), including any photos, videos, audio (for example music
                       and other sounds), livestream material, data, text (such as comments and
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               hashtags), metadata, images, interactive features, emojis, GIFs, memes,
               and any other material whatsoever;

         d.    "Creator" means a User who has set up their OnlyFans account as a
               Creator account to post Content on OnlyFans to be viewed by other Users;

         e.    "Fan" means a User who follows a Creator and is able to view the Creator's
               Content;

          f.   "Fan/Creator Transaction" means any transaction between a Fan and a
               Creator on OnlyFans by which access is granted to the Creator's Content
               including in any of the following ways: (i) a Subscription, (ii) payments
               made by a Fan to view a Creator's pay-per-view Content (pay-per-view
               media and pay-per-view live stream), and (iii) use by the Fan of the fan
               interaction function on a Creator's account;

         g.    "Fan Payment" means any and all payments made by a Fan to a Creator (i)
               in connection with a Fan/Creator Transaction, or (ii) by way of a tip for a
               Creator;

         h.    "Referring User" means a User who participates in the OnlyFans Referral
               Program;

          i.   "Standard Contract between Fan and Creator" means the terms which
               govern each Fan/Creator Transaction, which can be found here;

          j.   "Subscription" means a Fan's subscription to a Creator's account (whether
               paid or unpaid, and whether for one month or as part of a bundle
               comprising a subscription for more than one month);

         k.    "Terms of Service" (also called "your agreement with us") means the
               legally binding agreement between you and us which consists of: (i) these
               Terms of Use for all Users, (ii) Terms of Use for Fans, (iii) Terms of Use for
               Creators, (iv) Privacy Policy, (v) Acceptable Use Policy, (vi) Referral
               Program Terms, (vii) Complaints Policy, (viii) Platform to Business
               Regulation Terms; and (ix) Community Guidelines;

          l.   "United Kingdom" means the United Kingdom of Great Britain and
               Northern Ireland; and

        m.     "User" means any user of OnlyFans, whether a Creator or a Fan or both
               (also referred to as "you" or "your").
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    3.    Who we are and how to contact us: OnlyFans is operated by Fenix International
          Limited. We are a limited company registered in England and Wales, with
          company registration number 10354575 and we have our registered o]ce
          address at Fourth Floor, Imperial House, 8 Kean Street, London, WC2B 4AS. Our
          VAT number is 268196365.
          To contact us with any questions about OnlyFans, please email our support
          team at support@onlyfans.com. If you are unable to contact us by email,
          please write to us at the following address: Fourth Floor, Imperial House, 8
          Kean Street, London, WC2B 4AS.

    4.    How we may change the Terms of Service: We may change any part of the
          Terms of Service without telling you beforehand in the following
          circumstances:

          a.   to redect changes in laws and regulatory requirements which apply to
               OnlyFans and the services, features and programs of OnlyFans where such
               changes require OnlyFans to change its terms and conditions in a manner
               which does not allow us to give reasonable notice to you; and

          b.   to address an unforeseen and imminent danger related to defending
               OnlyFans, Fans or Creators from fraud, malware, spam, data breaches or
               other cybersecurity risks.

          We may also make other changes to any part of the Terms of Service, and we
          will give you reasonable notice of such changes by email or through OnlyFans,
          and you may contact us to end your agreement with us before the changes take
          effect. Once any updated Terms of Service are in effect, you will be bound by
          them if you continue to use OnlyFans.

    5.    We may make changes to or suspend or withdraw OnlyFans: We may update
          and change OnlyFans from time to time for any reason, including to redect
          changes to our services, Users' needs and our business practices or to improve
          performance, enhance functionality or address security issues. We will try to
          give you reasonable notice of any major changes. We do not guarantee that
          OnlyFans, or any Content on it, will always be available or accessible without
          interruption. We may suspend or withdraw or restrict the availability of all or
          any part of OnlyFans for business or operational reasons. We will try to give you
          reasonable notice of any suspension or withdrawal if it affects you.

    6.    Registering with OnlyFans: To use OnlyFans you must erst register and create a
          User account on OnlyFans. You must provide a valid email address, a
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          username, and a password or authenticate using a valid Twitter or Google
          account. Your password should be unique (meaning that it is different to those
          you use for other websites) and must comply with the technical requirements
          of the OnlyFans site for the composition of passwords. To register as a User:

          a.   you must be at least 18 years old, and you will be required to conerm this;

          b.   if the laws of the country or State/province where you live provide that you
               can only be legally bound by a contract with us at an age which is higher
               than 18 years old, then you must be old enough to be legally bound by a
               contract with us under the laws of the country or State/province where you
               live; and

          c.   you must be permitted by the laws of the country or State/province where
               you are located to join OnlyFans and to view any Content available on it
               and to use any functionality provided by it.

          d.   you must provide such other information or veriecation records as we
               require.

          If you do not meet the above requirements, you must not access or use
          OnlyFans.

    7.    Your commitments to us: When you register with and use OnlyFans, you make
          the following commitments to us:

          a.   If you previously had an account with OnlyFans, you conerm that your old
               account was not terminated or suspended by us because you violated any
               of our terms or policies.

          b.   You will make sure that all information which you submit to us is truthful,
               accurate and complete.

          c.   You will update promptly any of your information you have submitted to us
               as and when it changes.

          d.   You consent to receiving communications from us electronically, including
               by emails and messages posted to your OnlyFans account, and to the
               processing of your personal data as more fully detailed in our Privacy
               Policy.

          e.   You will keep your account/login details conedential and secure, including
               your user details, passwords and any other piece of information that forms
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                part of our security procedures, and you will not disclose these to anyone
                else. You will contact support@onlyfans.com promptly if you believe
                someone has used or is using your account without your permission or if
                your account has been subject to any other breach of security. You also
                agree to ensure that you log out of your account at the end of each
                session, and to be particularly careful when accessing your account from
                a public or shared computer so that others are not able to access, view or
                record your password or other personal information.

           f.   You are responsible for all activity on your account even if, contrary to the
                Terms of Service, someone else uses your account.

          g.    You will comply in full with these Terms of Use for all Users, our
                Acceptable Use Policy and all other parts of the Terms of Service which
                apply to your use of OnlyFans.

    8.    Rights we have, including to suspend or terminate your account:

          a.    We can but we are not obligated to moderate or review any of your Content
                to verify compliance with the Terms of Service (including, in particular, our
                Acceptable Use Policy) and/or any applicable law.

          b.    It is our policy to suspend access to any Content you post on OnlyFans
                which we become aware may not comply with the Terms of Service
                (including, in particular, our Acceptable Use Policy) and/or any applicable
                law whilst we investigate the suspected non-compliance or unlawfulness
                of such Content. If we suspend access to any of your Content, you may
                request a review of our decision to suspend access to the relevant Content
                by contacting us at support@onlyfans.com. Following our investigation of
                the suspected non-compliance or unlawfulness of the relevant Content, we
                may take any action we consider appropriate, including to reinstate access
                to the Content or to permanently remove or disable access to the relevant
                Content without needing to obtain any consent from you and without
                giving you prior notice. You agree that you will at your own cost promptly
                provide to us all reasonable assistance (including by providing us with
                copies of any information which we request) in our investigation. We will
                not be responsible for any loss suffered by you arising from the
                suspension of access to your Content or any other steps which we take in
                good faith to investigate any suspected non-compliance or unlawfulness
                of your Content under this section.
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         c.    If we suspend access to or delete any of your Content, we will notify you
               via email or electronic message to your OnlyFans account, but we are not
               obligated to give you prior notice of such removal or suspension.

         d.    We reserve the right in our sole discretion to terminate your agreement
               with us and your access to OnlyFans for any reason by giving you 30 days’
               notice by email or electronic message to your OnlyFans account. We can
               also suspend access to your User account or terminate your agreement
               with us and your access to OnlyFans immediately and without prior notice:
                       if we think that you have or may have seriously or repeatedly
                       breached any part of the Terms of Service (including in particular
                       our Acceptable Use Policy), or if you attempt or threaten to breach
                       any part of the Terms of Service in a way which has or could have
                       serious consequences for us or another User; or

                       if you take any action that in our opinion has caused or is
                       reasonably likely to cause us to suffer a loss or that otherwise
                       harms the reputation of OnlyFans.

               If we suspend access to your User account or terminate your agreement
               with us and your access to OnlyFans we will let you know. During any
               period when access to your User account is suspended, any Fan Payments
               which would otherwise have fallen due during the period of suspension
               will be suspended, and we may withhold all or any part of the Creator
               Earnings due to you but not yet paid out in accordance with section 13 of
               the Terms of Use for Creators.

         e.    Upon termination of your account, we may deal with your Content in any
               appropriate manner in accordance with our Privacy Policy (including by
               deleting it) and you will no longer be entitled to access your Content. There
               is no technical facility on OnlyFans for you to be able to access your
               Content following termination of your account.

          f.   We can investigate any suspected or alleged misuse, abuse, or unlawful
               use of OnlyFans and cooperate with law enforcement agencies in such
               investigation.

         g.    We can disclose any information or records in our possession or control
               about your use of OnlyFans to law enforcement agencies in connection
               with any law enforcement investigation of any suspected or alleged illegal
               activity, to protect our rights or legal interests, or in response to legal
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                process.

          h.    We can change the third-party payment providers used to process
                payments on OnlyFans and if we do so, we will notify you and store
                applicable details on your OnlyFans account.

           i.   Other than Content (which is owned by or licensed to Creators), all rights in
                and to OnlyFans and its entire contents, features, databases, source code
                and functionality, are owned by us and/or our licensors. Such material is
                protected by copyright, and may be protected by trademark, trade secret,
                and other intellectual property laws.

           j.   We are the sole and exclusive owners of any and all anonymised data
                relating to your use of OnlyFans and such anonymised data can be used
                by us for any purpose, including for commercial, development and
                research purposes.

    9.    What we are not responsible for: We will use reasonable care and skill in
          providing OnlyFans to you, but there are certain things which we are not
          responsible for, as follows:

          a.    We do not authorize or approve Content on OnlyFans, and views expressed
                by Creators or Fans on OnlyFans do not necessarily represent our views.

          b.    We do not grant you any rights in relation to Content. Any such rights may
                only be granted to you by Creators.

          c.    Your Content may be viewed by individuals that recognise your identity. We
                will not in any way be responsible to you if you are identieed from your
                Content. While we may, from time to time and in our sole discretion, offer
                certain geofencing or geolocation technology on OnlyFans, you
                understand and agree that we do not guarantee the accuracy or
                effectiveness of such technology, and you will have no claim against us
                arising from your use of or reliance upon any geofencing or geolocation
                technology on OnlyFans.

          d.    All Content is created, selected, and provided by Users and not by us. We
                are not responsible for reviewing or moderating Content, and we do not
                select or modify the Content that is stored or transmitted via OnlyFans. We
                are under no obligation to monitor Content or to detect breaches of the
                Terms of Service (including the Acceptable Use Policy).
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          e.    You agree that you have no obligation to follow any suggestions,
                comments, reviews, or instructions received from another User of
                OnlyFans and that if you choose to do so, you do so entirely at your own
                risk.

           f.   We make no promises or guarantees of any kind that Creators or Referring
                Users will make a particular sum of money (or any money) from their use
                of OnlyFans (including the OnlyFans Referral Program).

          g.    The materials which we make accessible on OnlyFans for Users are for
                general information only. We make no promises or guarantees about the
                accuracy or otherwise of such materials, or that Users will achieve any
                particular result or outcome from using such materials.

          h.    We do not promise that OnlyFans is compatible with all devices and
                operating systems. You are responsible for coneguring your information
                technology, device, and computer programs to access OnlyFans. You
                should use your own virus protection software.

           i.   We are not responsible for the availability of the internet, or any errors in
                your connections, device or other equipment, or software that may occur
                in relation to your use of OnlyFans.

           j.   While we try to make sure that OnlyFans is secure and free from bugs and
                viruses, we cannot promise that it will be and have no control over the
                Content that is supplied by Creators.

          k.    We are not responsible for any lost, stolen, or compromised User
                accounts, passwords, email accounts, or any resulting unauthorized
                activities or resulting unauthorized payments or withdrawals of funds.

           l.   You acknowledge that once your Content is posted on OnlyFans, we
                cannot control and will not be responsible to you for the use which other
                Users or third parties make of such Content. You can delete your account
                at any time, but you acknowledge that deleting your account will not of
                itself prevent the circulation of any of your Content which may have been
                recorded by other Users in breach of the Terms of Service or by third
                parties prior to the deletion of your account.

    10.   Intellectual property rights – ownership and licenses:

          a.    You conerm that you own all intellectual property rights (examples of
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              which are copyright and trademarks) in your Content or that you have
              obtained all necessary rights to your Content which are required to grant
              licenses in respect of your Content to us and to other Users. This includes
              any rights required to engage in the acts covered by sub-section 10(b)
              below in any territory in which OnlyFans is accessible and, in particular, in
              the United States of America, the United Kingdom and the European Union.

         b.   You agree to grant us a license under all your Content to perform any act
              restricted by any intellectual property right (including copyright) in such
              Content, for any purpose reasonably related to the provision and operation
              of OnlyFans. Such acts include to reproduce, make available and
              communicate to the public, display, perform, distribute, translate, and
              create adaptations or derivative works of your Content, and otherwise deal
              in your Content.

         c.   The license which you grant to us under sub-section 10(b) above is
              perpetual, non-exclusive, worldwide, royalty-free, sublicensable, assignable
              and transferable by us. This means that the license will continue even after
              your agreement with us ends and you stop using OnlyFans, that we do not
              have to pay you for the license, and that we can grant a sub-license of your
              Content to someone else or assign or transfer the license to someone
              else. This license will allow us, for example, to add stickers, text, and
              watermarks to your Content, to make your Content available to other Users
              of OnlyFans, as well as to use your Content for other normal operations of
              OnlyFans. We will never sell your Content to other platforms, though we
              may sell or transfer any license you grant to us in the Terms of Service in
              the event of a sale of our company or its assets to a third party.

         d.   Whilst we do not own your Content, you grant us the limited right to submit
              notiecations of infringement (including of copyright or trademark) on your
              behalf to any third-party website or service that hosts or is otherwise
              dealing in infringing copies of your Content without your permission.
              Although we are not under any obligation to do so, we may at any time
              submit or withdraw any such notiecation to any third-party website or
              service where we consider it appropriate to do so. However, we do not and
              are under no obligation to police infringements of your Content. You agree
              that if we request, you will provide us with all consents and other
              information which we reasonably need to submit notiecations of
              infringement on your behalf. Please see our Complaints Policy for how to
              make a complaint about infringement of intellectual property rights.
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          e.   You waive any moral rights which you may have under any applicable law
               to object to derogatory treatment of any Content posted by you on
               OnlyFans. This waiver does not affect in any way your ownership of any
               intellectual property rights in your Content or the rights which you have to
               prevent your Content from being copied without your permission. The
               waiver is intended to allow us when dealing with your Content (as
               permitted by the license which you give us in section 10(b) above) to add
               watermarks, stickers or text to your Content.

    11.   Twitter: Users have the facility to connect an active Twitter account to their
          OnlyFans account and to share certain Content in the form of OnlyFans posts
          to Twitter using the share feature. If you use this feature, you must fully comply
          with Twitter's terms of service from time to time in respect of any Content
          shared in this way.

    12.   Linking to and from OnlyFans:

          a.   Links to OnlyFans:
                       You may link to the OnlyFans homepage, provided you do so in a
                       way that is fair and legal and does not damage our reputation or
                       take advantage of it, but you must not establish a link in such a
                       way as to suggest any form of association, approval, or
                       endorsement on our part.

                       If you are a Creator, when promoting your Creator account you
                       must comply with our Terms of Service and the terms of service of
                       any other website where you place a link to or otherwise promote
                       your Creator account. When promoting your Creator account, you
                       must not impersonate OnlyFans or give the impression that your
                       Creator account is being promoted by us if this is not the case.
                       You must not promote your OnlyFans account by using Google
                       Ads or any similar advertising platform or search engine
                       advertising service.

          b.   Links from OnlyFans: If OnlyFans contains links to other sites and
               resources provided by third parties, these links are provided for your
               convenience only. Such links should not be interpreted as approval by us
               of those linked websites or information you may obtain from them. We
               have no control over the contents of those sites or resources and accept
               no responsibility for them or for any loss or damage that may arise from
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               your use of them. If you decide to access any of the third-party websites
               linked to OnlyFans, you do so entirely at your own risk and subject to the
               terms and conditions of use for such websites.

          c.   Domain Names: In some instances, OnlyFans may allow Creators to
               register or use domain names that contain the OnlyFans trademark or a
               confusingly similar term. However, you will not register such a domain
               name, unless:
                       The domain name is registered by the Creator.

                       The domain name redirects to the Creator’s OnlyFans proele.
                       Domain names containing the OnlyFans trademark or a
                       confusingly similar term must not direct to any other website,
                       including link aggregators.

                       The Creator obtains prior written permission from OnlyFans and
                       signs a licensing agreement.

               If you would like to register a domain name containing the OnlyFans
               trademark or a confusingly similar term, please contact
               support@onlyfans.com. Failing to comply with these provisions or the
               licensing agreement will be considered a violation of the licensing
               agreement and may result in OnlyFans eling a domain dispute against the
               registrant.

    13.   How do I delete my account? If you want to delete your OnlyFans account then
          you may do so in the 'User Account' section of your OnlyFans account.

          a.   If you are a Fan, the deletion of your account will take place within a
               reasonable time following your request.

          b.   If you are a Creator, then once you initiate the "delete account" process
               your account will remain open until the last day of your Fans' paid
               Subscription period, following which you will receive your enal payment
               and your account will be deleted.

          c.   If you are both a Fan and a Creator then your account will be deleted in two
               stages (Fan erst and then Creator).

          d.   Once your account has been deleted you won't be charged any further
               amounts or have access to your former OnlyFans account or its Content,
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               and any subscriptions will be deleted and cannot be subsequently
               renewed. You will receive an email conermation upon the successful
               deletion of your account. Once your account has been deleted, we may
               deal with your Content in any appropriate manner in accordance with our
               Privacy Policy (including by deleting it) and you will no longer be entitled to
               access your Content. There is no technical facility on OnlyFans for you to
               be able to access your Content following termination of your account.

    14.   Who is responsible for any loss or damage suffered by you?

          a.   Whether you are a consumer or business User: We do not exclude or limit
               in any way our liability to you where it would be unlawful to do so. This
               includes (i) liability for death or personal injury caused by our negligence
               or the negligence of our employees, agents or subcontractors, and (ii)
               fraud or fraudulent misrepresentation.

          b.   If you are a consumer User: If you are a consumer User, you agree that:
                       We and our subsidiary companies, employees, owners,
                       representatives, and agents will not be liable to you for any loss of
                       proet, loss of business or revenue, business interruption, loss of
                       business opportunity, or loss of anticipated savings suffered by
                       you arising from or in connection with your use of OnlyFans.

                       If you are a consumer User and reside in the United States of
                       America, our total liability to you for claims arising out of or related
                       to your agreement with us shall be limited to USD 250 per claim.

          c.   If you are a business User: If you are a business User, you agree that:
                       We and our subsidiary companies, employees, owners,
                       representatives, and agents:
                               exclude (to the extent permitted by law) all implied
                               conditions, warranties, representations, or other terms that
                               may apply to OnlyFans or any content on it. This means
                               that if the Terms of Service do not expressly include a
                               promise or commitment by us, then one cannot be implied
                               by law;

                               are not responsible to you for any loss or damage suffered
                               by you that is not a foreseeable result of our breaching the
                               Terms of Service or our failing to use reasonable care and
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                              skill. Loss or damage is foreseeable if either it is obvious
                              that it will happen or if, at the time you agreed to the Terms
                              of Service, both we and you knew it might happen;

                              won't be liable to you for any loss or damage, whether in
                              contract, tort (including negligence), breach of statutory
                              duty, or otherwise, even if foreseeable, arising out of or in
                              connection with:
                                      your inability to use OnlyFans or any of its services,
                                      features or programs; or

                                      your use of or reliance on any content (including
                                      Content) stored on OnlyFans;

                              won't be liable to you for any:

                              a.   loss of proets;

                              b.   loss of sales, business, or revenue;

                              c.   business interruption;

                              d.   loss of anticipated savings;

                              e.   loss of business opportunity, goodwill or reputation;

                              f.   loss of data or information, including any Content; or

                              g.   indirect or consequential loss or damage;

                              won't be liable to you for any loss or damage caused by a
                              distributed denial-of-service attack, virus, malware,
                              ransomware, or other technologically harmful material that
                              may infect your computer equipment, computer programs,
                              data, or other proprietary material due to your use of
                              OnlyFans or any of its services, features or programs, or
                              due to your downloading of any material posted on it, or on
                              any website linked to it;

                              won't be liable to you if your Content is copied, distributed,
                              reposted elsewhere or its copyright is infringed by another
                              User or any third party;
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                               won't be liable to you for any disclosure of your identity, or
                               any disclosure or publication of your personal information
                               by other Users or third parties without your consent (also
                               known as "doxing");

                               won't be liable to you for any failure or delay by us in
                               complying with any part of the Terms of Service arising
                               from events outside our reasonable control. If there is any
                               failure or delay by us in complying with any part of the
                               Terms of Service arising from an event outside our
                               reasonable control then we will contact you as soon as
                               possible to let you know and we will take steps to
                               minimise the effect of the delay.

                       Our total liability to you for any and all claims arising out of or
                       related to your agreement with us, whether in contract, tort
                       (including negligence), breach of statutory duty, or otherwise shall
                       be limited to the greater of:
                               100% of the total fees paid by you to us in connection with
                               your use of OnlyFans; and

                               USD 5,000.

    15.   General: You agree that:

          a.   If any aspect of your agreement with us is unenforceable, the rest will
               remain in effect.

          b.   If we fail to enforce any aspect of your agreement with us, it will not be a
               waiver;

          c.   We reserve all rights not expressly granted to you.

          d.   No implied licenses or other rights are granted to you in relation to any
               part of OnlyFans, save as expressly set out in the Terms of Service.

          e.   Your agreement with us does not give rights to any third parties, except
               that the exclusions and limitations of liability in section 14 (Who is
               responsible for any loss or damage suffered by you?) and the terms in
               section 16 ( Terms relating to disputes) may be enforced by our subsidiary
               companies, employees, owners, representatives and agents.
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           f.   You cannot transfer your rights or obligations under your agreement with
                us without our prior written consent.

          g.    Our rights and obligations under your agreement with us can be assigned
                or transferred by us to others. For example, this could occur if our
                ownership changes (as in a merger, acquisition, or sale of assets) or by
                law. In addition, we may choose to delegate the performance of any of our
                obligations under your agreement with us to any third party, but we will
                remain responsible to you for the performance of such obligations.

          h.    The Terms of Service form the entire agreement between us and you
                regarding your access to and use of OnlyFans, and supersede any and all
                prior oral or written understandings or agreements between us and you.

    16.   Terms relating to disputes – the law which applies to your agreement with us
          and where disputes and claims concerning your use of OnlyFans (including
          those arising from or relating to your agreement with us) can be brought:

          a.    For consumers (Fans):
                       Consumers - Law:
                               If you are a consumer, your agreement with us is governed
                               by English law and English law will apply to (i) any claim
                               that you have arising out of or in connection with your
                               agreement with us or your use of OnlyFans, and (ii) any
                               claim that we have against you that arises out of or in
                               connection with your agreement with us or your use of
                               OnlyFans (including, in both cases, non-contractual
                               disputes or claims). You will also be able to rely on
                               mandatory rules of the law of the country where you live.

                       Consumers - where claims must be brought:
                               If you are a consumer resident in the United Kingdom or
                               the European Union, any claim which you have or which we
                               have arising out of or in connection with your agreement
                               with us or your use of OnlyFans (including, in both cases,
                               non-contractual disputes or claims) may be brought in the
                               courts of England and Wales or the courts of the country
                               where you live.

                               If you are a consumer resident outside of the United
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                               Kingdom or the European Union, any claim which you have
                               or which we have arising out of or in connection with your
                               agreement with us or your use of OnlyFans (including, in
                               both cases, non-contractual disputes or claims) must be
                               brought in the courts of England and Wales.

          b.   For business Users (Creators and Referring Users):
                       Business Users – Law:
                               If you are a business User, your agreement with us is
                               governed by English law and English law will apply to (i)
                               any claim that you have arising out of or in connection with
                               your agreement with us or your use of OnlyFans, and (ii)
                               any claim that we have arising out of or in connection with
                               your agreement with us or your use of OnlyFans (including,
                               in both cases non-contractual disputes or claims), without
                               regard to condict of law provisions.

                       Business Users - where claims must be brought:
                               If you are a business User, you and we agree that the
                               courts of England and Wales shall have exclusive
                               jurisdiction to resolve any dispute or claim (including non-
                               contractual disputes or claims) which you have or which
                               we have arising out of or in connection with your
                               agreement with us (including its subject matter or
                               formation) or your use of OnlyFans.

          c.   Limitation period for bringing claims: Except where prohibited by
               applicable law, any claim or cause of action which you have concerning
               OnlyFans (including those arising out of or related to your agreement with
               us) must be eled within one year after the date on which such claim or
               cause of action arose or the date on which you learned of the facts giving
               rise to the cause of action (whichever is the earlier), or be forever barred.

    17.   Other terms which form part of your agreement with us: These Terms of Use
          for all Users govern your agreement with us. Certain other terms or policies
          forming part of the Terms of Service will also apply to you and form part of your
          agreement with us, as follows:

          a.   Terms of Use for Fans – which contain additional terms which apply if you
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                    use OnlyFans as a Fan;

              b.    Terms of Use for Creators – which contain additional terms which apply if
                    you use OnlyFans as a Creator;

              c.    Privacy Policy – which applies to all Users and tells you how we use your
                    personal data and other information we collect about you;

              d.    Acceptable Use Policy – which applies to all Users and tells you what you
                    can and can’t do on OnlyFans;

              e.    Referral Program Terms – which outline the terms that apply if you
                    participate in the OnlyFans Referral Program;

               f.   Complaints Policy - which sets out the procedure for making a complaint
                    about any aspect of OnlyFans, and how we will deal with that complaint;

              g.    Platform to Business Regulation Terms – which contain additional terms
                    which apply to Creators who are established or resident in the European
                    Union or the United Kingdom; and

              h.    Our Community Guidelines – which provide additional terms and guidance
                    regarding your interactions with OnlyFans.

              If there is any condict between these Terms of Use for all Users and any of the
              terms or policies listed at section 17(a) to (h) above, the Terms of Use for all
              Users will apply to the extent of the condict.

    Last updated: December 2021


    TERMS OF USE FOR FANS
    BY USING OUR WEBSITE AS A FAN YOU AGREE TO THESE TERMS – PLEASE READ THEM
    CAREFULLY
       1.     Introduction: These Terms of Use for Fans are additional terms which apply if
              you use OnlyFans as a Fan (also referred to as "you" and "your" in these Terms
              of Use for Fans). These Terms of Use for Fans form part of your agreement
              with us.

       2.     Interpretation: In these Terms of Use for Fans, deened terms have the same
              meanings given to them in the Terms of Use for all Users. In addition:
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          a.    "VAT" means United Kingdom value added tax and any other tax imposed
                in addition to or in substitution for it at the rate from time to time imposed
                and any equivalent or similar governmental, state, federal, provincial, or
                municipal indirect tax, charge, duty, impost or levy in any other jurisdiction;
                and

          b.    "Tax" shall include all forms of tax and statutory, governmental, state,
                federal, provincial, local government or municipal charges, duties, imposts,
                contributions, levies, withholdings or liabilities wherever chargeable and
                whether of the UK or any other jurisdiction.

    3.    Other terms which will apply to your use of OnlyFans: The following terms will
          also apply to your use of OnlyFans and you agree to them:

          a.    Our Terms of Use for all Users;

          b.    Our Privacy Policy – which tells you how we use your personal data and
                other information we collect about you;

          c.    Our Acceptable Use Policy – which tells you what you can and can't do on
                OnlyFans;

          d.    Our Complaints Policy – which sets out the procedure for making a
                complaint about any aspect of OnlyFans, and how we will deal with that
                complaint;

          e.    The Standard Contract between Fan and Creator – which does not form
                part of your agreement with us, but which governs and sets out the terms
                applicable to each Fan/Creator Transaction you enter into on OnlyFans;
                and

           f.   Our Community Guidelines – which provide additional terms and guidance
                regarding your interactions with OnlyFans.

    4.    Other terms which may apply to your use of OnlyFans: The following additional
          terms may apply to your use of OnlyFans:

          a.    If you are also a Creator, the Terms of Use for Creators will apply to your
                use of OnlyFans as a Creator;

          b.    If you are a Creator who is established or resident in the European Union or
                the United Kingdom, then the Platform to Business Regulation Terms will
                also apply to you; and
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          c.   If you participate in the OnlyFans referral program, the Referral Program
               Terms will apply to your use of the OnlyFans Referral Program.

    5.    Your commitments to us: You warrant (which means you make a legally
          enforceable promise) that:

          a.   you are at least 18 years old;

          b.   if the laws of the country or State/province where you live provide that you
               can only be legally bound by a contract at an age which is higher than 18
               years old, then you are old enough to be legally bound by a contract under
               the laws of the country or State/province where you live;

          c.   you will provide such other information or veriecation records as we
               require.

          d.   you are permitted by the laws of the country or State/province where you
               are located to join OnlyFans and to view any Content available on it and to
               use any functionality provided by it; and

          e.   you are able and willing to make payment (where required) to view Content
               available on OnlyFans which you wish to view and to use any functionality
               provided by OnlyFans that you wish to use.

    6.    Content - general terms: In addition to the terms set out elsewhere in the Terms
          of Service (in particular in our Acceptable Use Policy), the following terms apply
          to the Content posted, displayed, uploaded or published by you as a Fan on
          OnlyFans:

          a.   You warrant (which means that you make a legally enforceable promise to
               us) that for each item of Content which you post, display, upload or publish
               on OnlyFans:

                i.    the Content complies in full with the Terms of Service (and in
                      particular our Acceptable Use Policy);

               ii.    you either own your Content (and all intellectual property rights in it)
                      or have a valid license to your Content; and

               iii.   if your Content includes or uses any third-party material, you have
                      secured all rights, licenses, written consents and releases that are
                      necessary for the use of such third-party property in your Content and
                      for the subsequent use and exploitation of that Content on OnlyFans.
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          b.   You agree that you will be liable to us and indemnify us if any of the
               warranties at section 6(a) is untrue. This means you will be responsible for
               any loss or damage we suffer as a result of any warranty being untrue.

          c.   We are not responsible for and do not endorse any aspect of any Content
               posted by you or any other User of OnlyFans. We do not have any
               obligation to monitor any Content and have no direct control over what
               your Content may comprise.

    7.    Adult material: You acknowledge that you are aware that some of the Content
          on OnlyFans contains adult material, and you agree to take this into account
          when deciding where to access and view Content. We will not be responsible to
          you if you suffer any loss or damage as a result of your accessing or viewing
          Content containing adult material in a way which places you in breach of any
          contract you have with a third party (for example, your employment contract) or
          in breach of any applicable law.

    8.    Subscriptions and purchases by Fans: This section describes the terms which
          apply to Fan/Creator Transactions:

          a.   All Fan/Creator Transactions are contracts between Fans and Creators on
               the terms of the Standard Contract between Fan and Creator. Although we
               facilitate Fan/Creator Transactions by providing the OnlyFans platform and
               storing Content we are not a party to the Standard Contract between Fan
               and Creator or any other contract which may exist between a Fan and
               Creator, and are not responsible for any Fan/Creator Transactions.

          b.   Creators are solely responsible for determining (within the parameters for
               pricing on OnlyFans) the pricing applicable to Fan/Creator Transactions
               and the Content to which you may be given access. All prices appear in
               USD only.

          c.   Fan Payments are exclusive of VAT, which shall be added at the current
               rate as applicable to Fan Payments.

          d.   To be able to enter into a Fan/Creator Transaction with a particular
               Creator, you must erst add a payment card to your account and then click
               the 'Subscribe' button on the relevant Creator's proele.

          e.   You authorize us and our subsidiary companies to supply your payment
               card details to a third-party payment provider for the purpose of
               processing your Fan Payment. All Fan Payments will be charged in USD.
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               Your payment card provider may charge you currency conversion fees. We
               do not have control over currency exchange rates or charges imposed by
               your payment card provider or bank and we and our subsidiary companies
               will not be responsible for paying any charges or fees imposed by your
               payment card provider or bank.

          f.   If you choose to provide details of two or more payment cards, then if you
               try to make a Fan Payment from the erst card and the card is rejected for
               any reason, then the other payment card will be used to collect the full Fan
               Payment.

         g.    The payment provider will take (i) periodic payments from your payment
               card for Fan Payments which are Subscriptions; and (ii) immediate
               payments from your payment card for Fan Payments other than
               Subscriptions (including any tips paid by you to a Creator). You authorize
               and consent to each of these payments being debited using your supplied
               payment card details.

         h.    Apart from free-trial Subscriptions, all Subscriptions to a Creator's proele
               will automatically renew at the end of the relevant subscription period,
               except if your payment card is declined, the subscription price for the
               Subscription has increased, or you have turned off the "Auto-Renew"
               switch located on the relevant Creator's proele. This means that if you
               want to stop subscribing to a Creator's proele and paying continuing
               monthly subscription charges, you will need to turn off the "Auto-Renew"
               switch located on the relevant Creator's proele.

          i.   If you cancel a Subscription you will continue to be permitted to view the
               relevant Creator's Content until the end of the subscription period in which
               you cancelled, after which no further payments will be taken from your
               payment card in respect of subscriptions to that Creator's proele (unless
               you choose to pay for a new Subscription to that Creator’s proele), and you
               will no longer be able to view the relevant Creator's Content.

          j.   You agree that you will not make unjustieed requests for a refund in
               respect of any Fan/Creator Transaction or tip to a Creator, or unjustieed
               chargeback requests of your payment card provider in relation to any
               Fan/Creator Transaction or tip to a Creator. If we consider that any request
               for a refund or chargeback request was made by you in bad faith, we have
               the right to suspend or delete your User account.

         k.    Wallet credits: You can prepay an amount on OnlyFans (known as "Wallet
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                   Credits") which you can later use to make Fan Payments. Purchases on
                   OnlyFans cannot be divided - if you attempt a purchase that costs more
                   than the total amount of your remaining Wallet Credits, your payment card
                   will be charged the full amount for that purchase. Wallet Credits are
                   subject to a maximum amount as determined by us from time to time.
                   Interest will not accrue on Wallet Credits. Wallet Credits are non-
                   refundable, which means that you are not entitled to a refund of any
                   unused Wallet Credits.

       9.     Suspension of your User account: If we suspend your User account in
              accordance with our rights under the Terms of Service, then any Fan Payments
              which would otherwise have fallen due during the period of suspension of your
              User account will be suspended during the period of the suspension of your
              User account.

    Last updated: December 2021


    TERMS OF USE FOR CREATORS
    BY USING OUR WEBSITE AS A CREATOR YOU AGREE TO THESE TERMS – PLEASE READ
    THEM CAREFULLY
       1.     Introduction: These Terms of Use for Creators are additional terms which apply
              if you use OnlyFans as a Creator (also referred to as "you" and "your" in these
              Terms of Use for Creators). These Terms of Use for Creators form part of your
              agreement with us.

       2.     Interpretation: In these Terms of Use for Creators, deened terms have the same
              meanings given to them in the Terms of Use for all Users. In addition:

              a.   "VAT" means United Kingdom value added tax and any other tax imposed
                   in addition to or in substitution for it at the rate from time to time imposed
                   and any equivalent or similar governmental, state, federal, provincial, or
                   municipal indirect tax, charge, duty, impost or levy in any other jurisdiction;
                   and

              b.   "Tax" shall include all forms of tax and statutory, governmental, state,
                   federal, provincial, local government or municipal charges, duties, imposts,
                   contributions, levies, withholdings or liabilities wherever chargeable and
                   whether of the UK or any other jurisdiction.
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    3.    Other terms which will apply to your use of OnlyFans: The following terms will
          also apply to your use of OnlyFans and you agree to them:

          a.    Our Terms of Use for all Users;

          b.    Our Privacy Policy – which tells you how we use your personal data and
                other information we collect about you;

          c.    Our Acceptable Use Policy – which tells you what you can and can’t do on
                OnlyFans;

          d.    Our Complaints Policy – which sets out the procedure for making a
                complaint about any aspect of OnlyFans, and how we will deal with that
                complaint;

          e.    The Standard Contract between Fan and Creator – which does not form
                part of your agreement with us, but which governs and sets out the terms
                applicable to each Fan/Creator Transaction you enter into on OnlyFans;
                and

           f.   Our Community Guidelines – which provide additional terms and guidance
                regarding your interactions with OnlyFans.

    4.    Other terms which may apply to your use of OnlyFans: The following additional
          terms may apply to your use of OnlyFans:

          a.    If you are established or resident in the European Union or the United
                Kingdom, then the Platform to Business Regulation Terms will also apply
                to you;

          b.    If you are also a Fan, the Terms of Use for Fans will also apply to your use
                of OnlyFans as a Fan; and

          c.    If you participate in the OnlyFans Referral Program, the Referral Program
                Terms will apply to your use of the OnlyFans Referral Program.

    5.    What are the fees that we charge Creators for the use of OnlyFans? We charge
          a fee to you of twenty per cent (20%) of all Fan Payments made to you
          (exclusive of any VAT element of the Fan Payment) (called Our Fee. The
          remaining eighty per cent (80%) of the Fan Payment (exclusive of any VAT
          element of the Fan Payment) is payable to you (called "Creator Earnings"). Our
          Fee includes the costs of providing, maintaining and operating OnlyFans and
          storing your Content. Our Fee is deducted from the Fan Payment, and Creator
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          Earnings are paid to you in the way described in the Payouts to Creators
          section below.

    6.    How to set up your account as a Creator account: To set up your account as a
          Creator account:

          a.    You will need on your User account page to upload a valid form of ID and
                two photos of you in accordance with the requirements set out here.

          b.    You will need on your User account page to add a bank account or
                payment details of your bank account or a payment method.

          c.    You will need on your User account page to select one of the available
                methods provided by OnlyFans as to how your Creator Earnings will be
                transferred to you. These methods are called Payout Options.

          d.    If you are registered for VAT in the UK, you will need to provide us with your
                valid UK VAT number. See the Promoting Tax compliance and VAT section
                of these Terms of Use for Creators in relation to UK VAT.

          e.    You may also need to submit additional information depending on the
                country where you live.

           f.   We may ask you for additional age or identity veriecation information at
                any time. We may reject your application to set up a Creator account for
                any reason, including the reasons stated here.

          g.    Once you have set up your account as a Creator account, then if you want
                to charge your Fans a monthly subscription fee you will need to set your
                subscription price for your Fans within the range allowed by OnlyFans as
                set out here.

          h.    You will then be able to start adding Content and Users will be able to
                subscribe to your account to become your Fans.

           i.   If you lose access to your account, you can reset your password, but you
                will need to know the email address used to set up the account to do so. If
                you do not recall the email address used to set up the account, we may
                require you to provide identiecation documents and photos and any
                additional evidence we may reasonably require to prove your identity.

    7.    Personal legal responsibility of Creators: Only individuals can be Creators.
          Every Creator is bound personally by the Terms of Service. If you have an agent,
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          agency, management company or other third party which assists you with the
          operation of your Creator account (or operates it on your behalf), this does not
          affect your personal legal responsibility. Our relationship is with you, and not
          with any third party, and you will be legally responsible for ensuring that all
          Content posted and all use of your account complies with the Terms of Service.

    8.    Fan/Creator Transactions: This section describes the terms which apply to
          Fan/Creator Transactions:

          a.   All Fan/Creator Transactions are contracts between Fans and Creators on
               the terms of the Standard Contract between Fan and Creator. Although we
               facilitate Fan/Creator Transactions by providing the OnlyFans platform and
               storing Content, we are not a party to the Standard Contract between Fan
               and Creator or any other contract which may exist between a Fan and
               Creator, and are not responsible for any Fan/Creator Transaction.

          b.   Fan Payments are exclusive of VAT, which shall be added at the current
               rate as applicable to Fan Payments.

          c.   When you receive conermation from OnlyFans, either in the ‘Statements’
               page of your User account or by email (or both), that the Fan/Creator
               Transaction has been conermed, you must perform your part of such
               Fan/Creator Transaction (for example, by allowing the Fan to view the
               Content on your Creator account and/or providing the customised Content
               paid for by the Fan and/or allowing the Fan to use the fan interaction
               function paid for (as applicable)). You agree that you will indemnify us for
               any breach by you of this obligation (which means you will be responsible
               for any loss or damage (including loss of proet) we suffer as a result of
               you failing to comply with this obligation).

    9.    Content – general terms: In addition to the terms set out elsewhere in the
          Terms of Service (in particular in our Acceptable Use Policy), the following
          terms apply to the Content posted, displayed, uploaded or published by you as
          a Creator on OnlyFans:

          a.   Your Content is not conedential, and you authorize your Fans to access
               and view your Content on OnlyFans for their own lawful and personal use,
               and in accordance with any licenses that you grant to your Fans.

          b.   You warrant (which means that you make a legally enforceable promise to
               us) that for each item of Content which you post, display, upload or publish
               on OnlyFans:
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                i.    the Content complies in full with the Terms of Service (and in
                      particular our Acceptable Use Policy);

               ii.    you hold all rights necessary to license and deal in your Content on
                      OnlyFans, including in each territory where you have Fans and in the
                      United Kingdom;

               iii.   you either own your Content (and all intellectual property rights in it)
                      or have a valid license to offer and supply your Content to your Fans;

               iv.    if your Content includes or uses any third-party material, you have
                      secured all rights, licenses, written consents and releases that are
                      necessary for the use of such third-party property in your Content and
                      for the subsequent use and exploitation of that Content on OnlyFans;
                      and

                v.    the Content is:

                      1.   of satisfactory quality, taking account of any description of the
                           Content, the price, and all other relevant circumstances including
                           any statement or representation which you make about the
                           nature of the Content on your account or in any advertising;

                      2.   reasonably suitable for any purpose which the Fan has made
                           known to you is the purpose for which the Fan is using the
                           Content; and

                      3.   as described by you.

          c.   You agree that you will be liable to us and indemnify us if any of the
               warranties at section 9(b) is untrue. This means you will be responsible for
               any loss or damage (including loss of proet) we suffer as a result of any of
               the warranties being untrue.

          d.   We are not responsible for and do not endorse any aspect of any Content
               posted by you or any other User of OnlyFans. We do not have any
               obligation to monitor any Content and have no direct control over what
               your Content may comprise.

          e.   You also agree to act as custodian of records for the Content that you
               upload to OnlyFans.

    10.   Advertising on OnlyFans:
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         a.   If you post or upload video Content to your Creator account which is
              designed to promote, directly or indirectly, a third-party goods, services or
              image in return for payment, other valuable consideration, or self-
              promotional purposes (including advertising, sponsorship, and product
              placement) (together "Advertising Content"), then you must comply with
              the requirements set out in sections 10(b) and (c) of these Terms of Use
              for Creators.

         b.   Requirements – Advertising Content: You must ensure that any
              Advertising Content which you post to your Creator account:

               i.    does not:

                     1.   prejudice respect for human dignity;

                     2.   include or promote discrimination based on sex, racial or ethnic
                          origin, nationality, religion or belief, disability, age or sexual
                          orientation;

                     3.   encourage behaviour prejudicial to health or safety;

                     4.   encourage behaviour grossly prejudicial to the protection of the
                          environment;

                     5.   cause physical, mental or moral detriment to any person;

                     n.   directly urge persons to purchase or rent goods or services in a
                          manner which exploits their inexperience or credulity;

                     7.   directly encourage persons to persuade others to purchase or
                          rent goods or services;

                     o.   exploit the trust of persons in others; or

                     9.   unreasonably show persons in dangerous situations;

              ii.    does not advertise cigarettes and other tobacco products, electronic
                     cigarettes and electronic cigarette reell containers, illegal drugs, or
                     any prescription-only medicine;

              iii.   does not advertise, promote, or facilitate illegal gambling, and

              iv.    in respect of any Advertising Content for alcoholic drinks, is not
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                     aimed at minors and does not encourage immoderate consumption
                     of alcohol.

          c.   Transparency requirement - Advertising Content: You must declare that
               any Advertising Content which you post or upload to OnlyFans contains
               advertising by including the signieer #ad in the caption to the Advertising
               Content before posting or uploading.

    11.   Co-authored Content:

          a.   If you upload Content to your Creator account which shows anyone else
               other than or in addition to you (even if that person cannot be identieed
               from the Content) ("Co-Authored Content"), you warrant (which means you
               make a legally enforceable promise to us) that each individual shown in
               any Co-Authored Content uploaded to your account is i) a Creator on
               OnlyFans; or ii) a consenting adult, and that you have verieed the identity
               and age of each such individual and will provide supporting documents as
               we may request in our discretion.

          b.   You further warrant that you have obtained and keep on record written
               consent from each individual shown in your Co-Authored Content that
               such individual:

                i.   has given his or her express, prior and fully informed consent to his or
                     her appearance in the Co-Authored Content; and

               ii.   has consented to the Co-Authored Content in which he or she
                     appears being posted on OnlyFans.

          c.   In addition to the conermations in sections 11(a) and (b) above, you agree
               that if you upload Co-Authored Content where the other person or people
               appearing in the Content maintain a Creator account on OnlyFans, you will
               tag the OnlyFans account(s) of any person or people appearing in the Co-
               Authored Content who can be identieed from it.

          d.   If any Co-Authored Content is a work of joint authorship, you are solely
               responsible for obtaining any required licenses or consents from any other
               joint authors of the Content which are su]cient to permit such Content to
               be uploaded to and made available on OnlyFans.

          e.   You agree that we will only arrange for Creator Earnings to be paid to the
               account of the Creator to which the Co-Authored Content is uploaded. The
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                Creator who uploaded the Co-Authored Content is solely responsible for
                dividing and distributing any revenue generated from the Co-Authored
                Content between the individuals shown in such Co-Authored Content. Any
                such revenue-sharing agreement shall be an independent, private
                agreement between you and such individual(s), and we are not responsible
                for providing or enforcing any such agreements. You understand and
                agree that you are not entitled to any Creator Earnings earned on any Co-
                Authored Content in which you appear but which is posted on another
                Creator’s account. If you post Co-Authored Content on your account, we
                may require you to provide valid and complete legal information for all
                individuals which appear in the Co-Authored Content. If you fail to provide
                any information requested by us upon our request, we may delete the Co-
                Authored Content, restrict your rights and permissions to post as a
                Creator, terminate your account, and/or withhold all or any portion of
                Creator Earnings earned but not yet paid out to you.

           f.   You agree to release us from and not to make any claims against us
                arising from Co-Authored Content. You agree that all claims arising from
                Co-Authored Content shall be made against the Creator(s) who posted Co-
                Authored Content or the individual(s) who appeared in the Co-Authored
                Content (as applicable).

    12.   Payouts to Creators:

          a.    All Fan Payments will be received by a third-party payment provider
                approved by us.

          b.    If you have chosen the Stripe Payout Option, Stripe will collect the Fan
                Payment and pay the Creator Earnings to your bank account.

          c.    Where Stripe is not the Payout Option chosen by you, Our Fee will be
                deducted from the Fan Payment received and your Creator Earnings will be
                held by us or one of our subsidiary companies on your behalf.

          d.    Your OnlyFans account will be updated within a reasonable time with your
                Creator Earnings. Your Creator Earnings will become available for
                withdrawal by you from your OnlyFans account once such Creator
                Earnings appear in your OnlyFans account.

          e.    To make a withdrawal of Creator Earnings from your OnlyFans account,
                you must have at least the minimum payout amount in your OnlyFans
                account. Please click on the Banking page on your account to see what
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                the minimum payout amount is for your country of residence and Payout
                Option.

           f.   The amount that you see in your ‘current balance’ in your OnlyFans
                account is your Creator Earnings at the relevant time. All Fan Payments
                and Creator Earnings are transacted in USD only. If you have chosen the
                "Stripe" Payout Option then the Fan Payments and Creator Earnings egures
                will be redected in your local currency, at an exchange rate controlled by
                Stripe. Your bank may charge you currency conversion or transfer fees to
                receive the money. Additionally, your e-wallet company may charge you a
                fee for accessing the money. We do not have control over currency
                exchange rates or charges imposed by your bank or your e-wallet
                company, and we and our subsidiary companies will not be responsible for
                paying any charges imposed by your bank or your e-wallet company.

          g.    If a Fan successfully seeks a refund or chargeback from their credit card
                provider in respect of a Fan Payment made to you, we may investigate and
                may decide to deduct from your account an amount equal to the Creator
                Earnings earned by you on the charged-back or refunded amount.

          h.    Except for Payout Options involving payment by direct bank transfer, we do
                not store any data disclosed by you when you register your Payout Options
                with a third-party payment provider.

    13.   Circumstances in which we may withhold Creator Earnings:

          a.    We may withhold all or any part of the Creator Earnings due to you but not
                yet paid out:

                 i.    if we think that you have or may have seriously or repeatedly
                       breached any part of the Terms of Service;

                ii.    if you attempt or threaten to breach any part of the Terms of Service
                       in a way which we think has or could have serious consequences for
                       us or another User (including actual or possible loss caused to us or
                       another User); or

                iii.   if we suspect that all or any part of the Creator Earnings result from
                       unlawful or fraudulent activity, either by you or by the Fan who made
                       the Fan Payment resulting in the Creator Earnings,

                for as long as is necessary to investigate the actual, threatened or
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               suspected breach by you or the suspected unlawful activity (as
               applicable). If following our investigation, we conclude that (i) you have
               seriously or repeatedly breached any part of the Terms of Service; (ii) you
               have attempted or threatened to breach any part of the Terms of Service in
               a way which has or could have serious consequences for us or another
               User (including actual or possible loss caused to us or another User),
               and/or (iii) the Creator Earnings result from unlawful or fraudulent activity,
               we may notify you that you have forfeited your Creator Earnings.

          b.   We may also withhold all or any part of the Creator Earnings due to you but
               not yet paid out if we receive notice that you have secured, encumbered,
               pledged, assigned, or otherwise allowed a lien to be placed on Creator
               Earnings. We undertake no duty to pay Creator Earnings to third-party
               lienholders and may withhold payment of Creator Earnings until the lien
               has been removed.

          c.   We shall not have any responsibility to you if we withhold or forfeit any of
               your Creator Earnings where we have a right to do so under these Terms of
               Use for Creators.

          d.   If we are withholding all or any part of the Creator Earnings due to you and
               we determine that part of the Creator Earnings withheld by us is unrelated
               to breaches by you of the Terms of Service or suspected unlawful or
               fraudulent activity, then we may arrange for you to be paid the part of the
               Creator Earnings which we determine to be unrelated to breaches by you
               of the Terms of Service or suspected unlawful or fraudulent activity.
               However, you agree that if we consider that your breach(es) of the Terms
               of Service has or may cause us loss, we may withhold all Creator Earnings
               due to you but not yet paid and we may set off such amounts against any
               losses suffered by us.

          e.   If once we have enished our investigation we determine that Creator
               Earnings are forfeited, we will (unless prohibited by law) use our best
               efforts to ensure that any Fan Payments which resulted in forfeited
               Creator Earnings are returned to the relevant Fans who paid such Fan
               Payments.

    14.   Promoting Tax compliance and VAT:

          a.   General:

                i.   We recommend that all Creators seek professional advice to ensure
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                     you are compliant with your local Tax and VAT rules, based on your
                     individual circumstances.

              ii.    By using OnlyFans as a Creator, you warrant (which means you make
                     a legally enforceable promise) that you have reported and will report
                     in the future the receipt of all payments made to you in connection
                     with your use of OnlyFans to the relevant Tax authority in your
                     jurisdiction, as required by law.

              iii.   By using OnlyFans as a Creator you warrant (which means you make
                     a legally enforceable promise) that you will at all times comply with all
                     laws and regulations relating to Tax which apply to you. If, at any
                     point whilst you have an OnlyFans account, any Tax non-compliance
                     occurs in relation to you (including a failure by you to report earnings
                     or the imposition on you of any penalty or interest relating to Tax) or if
                     any litigation, enquiry, or investigation is commenced against you that
                     is in connection with, or which may lead to, any occurrence of Tax
                     non-compliance, you agree that you will:

                     1.   notify us by email to vat@onlyfans.com in writing within 7 days
                          of the occurrence of the Tax non-compliance or the
                          commencement of the litigation, enquiry or investigation (as
                          applicable); and

                     2.   promptly provide us by email to vat@onlyfans.com with:

                          a.   details of the steps which you are taking to address the
                               occurrence of the Tax non-compliance and to prevent the
                               same from happening again, together with any mitigating
                               factors that you consider relevant; and

                          b.   such other information in relation to the occurrence of the
                               Tax non-compliance as we may reasonably require.

              iv.    For the avoidance of doubt, you are responsible for your own Tax
                     affairs and we and our subsidiary companies (i) are not responsible
                     for advising you on your Tax affairs and will not be liable in respect of
                     any general information provided on OnlyFans or by
                     support@onlyfans.com in respect of Tax, and (ii) will not be liable for
                     any non-payment of Tax by Creators.

               v.    We reserve the right to close your OnlyFans account if we are notieed
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                    of or become aware of any Tax non-compliance by you.

         b.   UK VAT and UK established Creators:

               i.   For the purposes of UK VAT only, Creators are treated as providing
                    their services to OnlyFans, rather than to Fans directly.

              ii.   If you are a Creator registered for UK VAT:

                    1.   You will be treated, for VAT purposes, as charging OnlyFans your
                         Creator Earnings (80% of all and any Fan Payments), together
                         with UK VAT at the prevailing rate in force at the time of the Fan
                         Payment;

                    2.   OnlyFans also agrees that, subject to the terms set out in this
                         section of these Terms of Use for Creators, you can add UK VAT
                         at the prevailing rate in force at the time of the referral payment
                         to the amount of any referral payments payable to you under the
                         Referral Program Terms (" Referral Payments").

                    3.   You agree to use the OnlyFans VAT invoice generator tool which
                         can be found at: https://onlyfans.com/my/banking/vat/create-
                         document to generate monthly VAT invoices, addressed to Fenix
                         International Limited, in respect of your Creator Earnings (and
                         Referral Payments, if any) for the relevant period together with
                         the VAT on such Creator Earnings (and Referral Payments, if
                         any);

                    4.   The VAT element added to your Creator Earnings (and Referral
                         Payments, if any) (the "VAT Amount") will be paid to you by way
                         of a separate payment outside of your regular Creator Earnings,
                         provided that you must have submitted to us copies of the
                         following before payment of the VAT Amount will be made to
                         you:

                         a.   your VAT registration number by completing this form
                              https://onlyfans.com/my/banking/vat;

                         b.   a valid VAT invoice generated and submitted using the
                              OnlyFans VAT invoice generator tool and uploaded using
                              https://onlyfans.com/my/banking/vat/add-documents; and

                         c.   a VAT return made to HM Revenue & Customs, including a
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                              value of taxable supplies equal to or greater than the
                              aggregate value of your Creator Earnings (and Referral
                              Payments, if any) for the relevant period. You can end the
                              monthly earning details at
                              https://onlyfans.com/my/stats/earnings;

              iii.   You shall pay the VAT Amount which is paid to you directly to HM
                     Revenue & Customs.

              iv.    If you need any further information or assistance on what is needed in
                     order to receive the VAT Amount you can email vat@onlyfans.com.

               v.    More information on who is required to register for VAT in the UK, and
                     the VAT position for Creators whose earnings are not above the
                     earnings threshold or who are not VAT registered can be found at
                     https://onlyfans.com/help/3/120 and in the following guidance from
                     HM Revenue & Customs in the UK at https://www.gov.uk/vat-
                     registration/when-to-register.

              vi.    You agree that you will keep copies of all VAT invoices and VAT
                     returns in connection with your earnings from OnlyFans and you will
                     provide us with copies of such documents within 14 days of our
                     written request that you do so. For the avoidance of doubt, it is your
                     obligation to comply with all provisions of VAT legislation and make,
                     give, obtain, maintain and keep accurate, complete and up-to-date
                     records, invoices, accounts and other documents required for the
                     purposes of the VAT legislation.

             vii.    If you are a Creator in the UK who is not required to register for UK
                     VAT, then you should monitor the level of taxable sales that you make
                     in the UK (including any Referral Payments) to ensure you have not
                     exceeded the VAT registration threshold in the UK. It is your
                     obligation, as a taxable person, to monitor whether you have
                     exceeded the VAT registration threshold.

            viii.    We do not monitor earnings that Creators receive from other income
                     sources. However, we will monitor the annual earnings of UK Creators
                     on our platform, and if you are not already VAT registered and your
                     earnings exceed the VAT registration threshold, you will receive a
                     notiecation from us asking you to register for VAT. If you receive such
                     a VAT registration notiecation, you agree to register for VAT as soon
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                          as possible and to send your VAT registration number to us at
                          vat@onlyfans.com, within 6 weeks of such notiecation. Failure to do
                          so may result in your OnlyFans account being closed.

    Last updated: December 2021


    ACCEPTABLE USE POLICY
    BY USING OUR WEBSITE YOU AGREE TO THIS POLICY – PLEASE READ IT CAREFULLY
    This Policy applies to your use of OnlyFans and all Content on OnlyFans and forms part of
    your agreement with us. This Policy sets out what is and is not permitted on OnlyFans.
    In this Policy, deened terms have the same meanings as in our Terms of Use for all Users.
        1.     Do not use OnlyFans except for your own personal use and do not sell, rent,
               transfer, or share your account or any Content obtained from your use of
               OnlyFans to or with anyone else.

        2.     Only use OnlyFans in a manner and for a purpose that is lawful.

        3.     Do not upload, post, display, or publish Content on OnlyFans that is illegal,
               fraudulent, defamatory, hateful, discriminatory, threatening or harassing, or
               which encourages or promotes violence or any illegal activity.

        4.     Do not use OnlyFans in any way which may exploit, harm, or attempt to exploit
               or harm any individual under 18 years old, for example by exposing them to
               inappropriate Content.

        5.     Do not upload, post, display, or publish Content on OnlyFans that:

               a.   shows, includes or refers to:

                     i.   any individual under 18 years old (or which refers to individuals under
                          18 years old generally); or

                    ii.   any other individual unless you have written documentation which
                          conerms that all individuals shown or included or referred to in your
                          Content are at least 18 years old, and you have a written consent from
                          each individual to use their name or images (or both) in the Content;

               b.   shows, promotes, advertises or refers to:

                     i.   erearms, weapons, or any goods whose sale, possession or use is
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                      subject to prohibitions or restrictions;

                ii.   drugs or drug paraphernalia;

               iii.   self-harm or suicide;

               iv.    incest;

                v.    bestiality;

               vi.    violence, rape, lack of consent, hypnosis, intoxication, sexual assault,
                      torture, sadomasochistic abuse or hardcore bondage, extreme esting,
                      or genital mutilation;

              vii.    necrophilia;

              viii.   urine, scatological, or excrement-related material;

               ix.    "revenge porn" (being any sexually explicit material featuring any
                      individual who has not given prior, express and fully informed consent
                      to that material (a) being taken, captured, or otherwise memorialized,
                      or (b) being posted and shared on OnlyFans);

                x.    escort services, sex tra]cking, or prostitution;

         c.    contains unsolicited sexual content or unsolicited language that sexually
               objectiees another User or anyone else in a non-consensual way, or
               contains fake or manipulated sexual content in relation to another User or
               anyone else (including "deepfakes");

         d.    contains, promotes, advertises or refers to hate speech (being Content
               intended to vilify, humiliate, dehumanize, exclude, attack, threaten, or incite
               hatred, fear of, or violence against, a group or individual based on race,
               ethnicity, national origin, immigration status, caste, religion, sex, gender
               identity or expression, sexual orientation, age, disability, serious disease,
               veteran status, or any other protected characteristic);

         e.    contains or refers to anyone else's personal data or private or conedential
               information (for example, telephone numbers, location information
               (including street addresses and GPS coordinates), names, identity
               documents, email addresses, log-in credentials for OnlyFans including
               passwords and security questions, enancial information including bank
               account and credit card details, biometric data, and medical records)
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                without that person's express written consent;

           f.   either:

                 i.   in the case of Content featuring public nudity, was recorded in or is
                      being broadcast from a country, State or province where public nudity
                      is illegal; or

                ii.   in the case of Content featuring sexual activities, was recorded in or
                      is being broadcast from a public place where members of the public
                      are reasonably likely to see the activities being performed (this does
                      not include outdoor places where members of the public are not
                      present, for example private property such as a private backyard, or
                      secluded areas in nature where members of the public are not
                      present).

          g.    gives the impression that it comes from or is approved, licensed or
                endorsed by us or any other person or company;

          h.    causes or is calculated to cause inconvenience, or anxiety to anyone else
                or which is likely to upset, embarrass, or cause serious offence to anyone
                else;

           i.   is used or is intended to be used to extract money or another beneet from
                anyone else in exchange for removal of the Content; and/or

           j.   involves or promotes third-party commercial activities or sales, such as
                contests, sweepstakes and other sales promotions, product placements,
                advertising, or job posting or employment ads without our prior express
                consent.

    6.    You must comply with any requirements set out in our Community Guidelines.
          Our Community Guidelines can be found here.

    7.    Do not use OnlyFans to stalk, bully, abuse, harass, threaten or intimidate anyone
          else.

    8.    Do not use OnlyFans to engage in misleading or deceptive conduct, or conduct
          that is likely to mislead or deceive any other User.

    9.    Respect the intellectual property rights of Creators, including by not recording,
          reproducing, sharing, communicating to the public or otherwise distributing
          their Content without authorization.
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    10.   Do not do anything that violates our or someone else's rights, including
          intellectual property rights (examples of which are copyright, trademarks,
          conedential information, and goodwill), personality rights, unfair competition,
          privacy, and data protection rights.

    11.   Do not impersonate us, one of our employees, another User, or any other
          person or company or falsely state or suggest any a]liation, endorsement,
          sponsorship between you and us or any other person or company.

    12.   Do not provide false account registration information or make unauthorized use
          of anyone else's information or Content.

    13.   Do not post or cause to be posted any Content which is spam, which has the
          intention or effect of artiecially increasing any Creator's views or interactions,
          or which is otherwise inauthentic, repetitive, misleading or low quality.

    14.   Do not transmit, stream, or otherwise send any pre-recorded audio or video
          material during a live stream or otherwise attempt to pass off recorded
          material as a live stream.

    15.   Do not use other media or methods (for example the use of codewords or
          signals) to communicate anything which violates this Policy.

    16.   Do not reproduce, print, distribute, attempt to download, modify, create
          derivative works of, publicly display, publicly perform, republish, download,
          store or transmit any Content, except as permitted under the Terms of Service.

    17.   Do not knowingly introduce any viruses, trojans, worms, logic bombs or other
          material into Content which is or may be malicious or technologically harmful.

    18.   Do not decompile, disassemble, reverse engineer, or otherwise attempt to
          discover or derive the source code of OnlyFans.

    19.   Do not use OnlyFans in a way that could adversely affect our systems or
          security or interfere with any other User’s use of OnlyFans, including their ability
          to engage in real-time activities through OnlyFans.

    20.   Do not use any automated program, tool or process (such as web crawlers,
          robots, bots, spiders, and automated scripts) to access OnlyFans or any server,
          network or system associated with OnlyFans, or to extract, scrape, collect,
          harvest or gather Content or information from OnlyFans.
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        21.     Do not use OnlyFans' name, logo or any related or similar names, logos, product
                and service names, designs, or slogans other than in the limited ways which are
                expressly permitted in the Terms of Service or with our prior written agreement.

    Breaches of this Policy may lead to your account being suspended or terminated, and
    access to your earnings being revoked, as set out in the Terms of Service.
    Last updated: December 2021


    REFERRAL PROGRAM TERMS

                                             WARNING!
      In compliance with regulation 3 of the Trading Scheme Regulations 1997 (as
      amended) and section 120(1) of the Fair Trading Act 1973, please read the warning
      below in respect of the OnlyFans Referral Program:
              It is illegal for us or for a participant in the OnlyFans Referral Program
              (including Referring Users and Referred Creators) to persuade anyone to make
              a payment by promising bene`ts from getting others to join the OnlyFans
              Referral Program.

              Do not be misled by claims that high earnings are easily achieved from
              participation in the OnlyFans Referral Program.

              Although we do not demand any payment from Referring Users for the
              purposes of participating in the OnlyFans Referral Program, we are legally
              required to inform you that if you sign this contract, you have 14 days in which
              to cancel and get your money back.




        1.      Introduction: These Referral Program Terms are additional terms which apply if
                you use the OnlyFans Referral Program. These Referral Program Terms form
                part of your agreement with us.

        2.      Interpretation: In these Referral Program Terms deened terms have the same
                meanings given to them in the Terms of Use for all Users. In addition:

                a.   "Referring User" is also referred to as "you" or "your" in these Referral
                     Program Terms;
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          b.   "Referred Creator" means the person who joins OnlyFans as a Creator via
               the Referring User's unique referral link.

    3.    What is the OnlyFans Referral Program? OnlyFans offers a referral program by
          which existing Users can introduce people who are interested in becoming
          Creators to OnlyFans and receive referral payments from OnlyFans which are
          calculated and limited as described in these Referral Program Terms.
          The OnlyFans Referral Program is operated by Fenix International Limited. We
          are a limited company registered in England and Wales, with company
          registration number 10354575 and we have our registered o]ce address at
          Fourth Floor, Imperial House, 8 Kean Street, London, WC2B 4AS.

    4.    The rules of the OnlyFans Referral Program:

          a.   Only Users of OnlyFans with a current User account can participate in the
               OnlyFans Referral Program. If a User's account has been suspended or
               terminated by us for any reason or deleted by the User, that User will not
               be eligible to participate in the OnlyFans Referral Program.

          b.   You will need on your User account page to add a bank account or a
               payment method details of your bank account or a payment method in
               order to receive referral payments under the OnlyFans Referral Program.

          c.   Each User has a unique referral link (which can be accessed via the User's
               User account) which the User may share with others. When sharing your
               unique referral link you must not impersonate OnlyFans or give the
               impression that your referral link is being shared or promoted by us. You
               must not use Google Ads or any similar advertising platform or search
               engine advertising service to share or promote your unique referral link.
               Upon our request, you must disclose the methods by which you share your
               unique referral link in the Bio/Website eeld of your OnlyFans account.

          d.   The Referred Creator must click on your unique referral link and then
               register with OnlyFans using the same browser that they used to click on
               your unique referral link. If someone registers with OnlyFans other than by
               using your unique referral link, we will not link that account to your referral
               and no referral payments will be made to you.

          e.   The Referred Creator must not have opened a User account with OnlyFans
               (whether under the same name or another name) before clicking on your
               unique referral link. If the Referred Creator is currently or has previously
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                been a User of OnlyFans no referral payments will be made to you for the
                referral.

           f.   If the Referred Creator sets up more than one User account referral
                payments will be made to you on the earnings made by the Referred
                Creator from their erst User account only. No referral payments will be
                made to you on any further User accounts set up by the Referred Creator.

          g.    No referral payments will be made to you on any referral of a Referred
                Creator which we determine is owned or operated by you, or is in a
                commercial relationship with you. You will provide any information which
                we request to enable us to determine whether the Referred Creator is
                owned or operated by you or if there is a commercial relationship between
                you and the Referred Creator.

          h.    You agree that when promoting OnlyFans in any way as a Referring User:
                        you will not give a false impression of OnlyFans, the services,
                        programs, and content (including Content) made available through
                        OnlyFans, its Users or the Terms of Service; and

                        you will not make any statements which suggest to a potential
                        Creator that the potential Creator will make a particular sum of
                        money (or any money) from their use of OnlyFans, or any
                        statements regarding the likely number of Fans.

    5.    Referral payments:

          a.    How are referral payments calculated? Once a Referred Creator has
                become a registered User of OnlyFans in accordance with the rules of the
                OnlyFans Referral Program described above, the Referring User will be
                paid a referral payment equal to eve per cent (5%) of Fan Payments
                generated by the Referred Creator in the twelve months after the date on
                which the Referred Creator becomes a registered User of OnlyFans, up to a
                maximum referral payment by OnlyFans to the Referring User of
                US$50,000 per Referred Creator.
                This means that if a Referred Creator generates Fan Payments with a total
                value of US$1 million or more in the twelve months after the date on which
                that Referred Creator becomes a registered User of OnlyFans, then the
                Referring User's referral payments in relation to that Referred Creator will
                be capped at US$50,000 in total. However, if the Referred Creator
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              generates Fan Payments with a total value of less than US$1 million in the
              twelve months after the date on which that Referred Creator becomes a
              registered User of OnlyFans, then the Referring User will be paid eve per
              cent (5%) of the Fan Payments generated by that Referred Creator in the
              twelve months after the date on which the Referred Creator becomes a
              registered User of OnlyFans, following which no further referral payments
              will be made to the Referring User in respect of that Referred Creator.
              For all referrals made prior to 1 May 2020, referral payments will be made
              to the relevant Referring Users until 1 May 2021 or until US$50,000 has
              been paid out to the Referring User on the referral, whichever occurs erst.

         b.   VAT: If you are a Referring User you should know that all referral payments
              payable to you by us will be inclusive of any VAT (as deened in the Terms
              of Use for Creators) which is or becomes chargeable on any supplies
              made by you, except as provided for in the " Promoting Tax compliance
              and VAT" section of the Terms of Use for Creators.

         c.   Warning: In compliance with regulation 3 of the Trading Scheme
              Regulations 1997 (as amended) and section 120(1) of the Fair Trading Act
              1973, please read the warning below in respect of the OnlyFans Referral
              Program:
                      It is illegal for us or for a participant in the OnlyFans Referral
                      Program (including Referring Users and Referred Creators) to
                      persuade anyone to make a payment by promising beneets from
                      getting others to join the OnlyFans Referral Program.

                      Do not be misled by claims that high earnings are easily achieved
                      from participation in the OnlyFans Referral Program.

         d.   Choosing a payout method to receive referral payments: In order to be
              able to receive referral payments you must erst choose one of the payout
              methods provided by OnlyFans in your country of residence. These
              methods are called "Payout Options".

         e.   How frequently are referral payments made? The referral payment due to
              you on Fan Payments made to the Referred Creator in a calendar month
              will be transferred to you on or around the erst day of the next calendar
              month (which means, for example, that referral payments due to you in
              respect of Fan Payments made to the Referred Creator in February shall be
              paid to you on or around 1 March).
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           f.   Who bears the cost of the referral payment? The cost of the referral
                payment is borne by us, not the Referred Creator.

    6.    Our rights relating to the referral program.

          a.    If referral payments have been made incorrectly then we have the right to
                recover the wrongly paid sums from the User to whom the wrongly paid
                sums have been paid.

          b.    We may request you or Referred Creators (or both) to provide us with ID
                and other information reasonably required by us to verify any referral
                payment to be made and the person to whom any referral payment should
                be made. Failure to provide any information requested by us may lead to
                you losing your entitlement to referral payments in respect of the relevant
                Referred Creator.

          c.    We may change any aspect of the OnlyFans Referral Program (including
                how referral payments are calculated) or discontinue the OnlyFans Referral
                Program at any time, but no change will deprive any Referring User of
                referral payments already earned based on Fan Payments made to
                Referred Creators before the changes came into effect.

    7.    Circumstances in which we may withhold referral payments:

          a.    We may withhold all or any part of the referral payments due to you but not
                yet paid out:
                        if we think that you have or may have seriously or repeatedly
                        breached any part of the Terms of Service;

                        if you attempt or threaten to breach any part of the Terms of
                        Service in a way which has or could have serious consequences
                        for us or another User (including actual or possible loss caused to
                        us or another User); or

                        if we suspect that all or any part of the referral payments due to
                        you result from unlawful or fraudulent activity, either by you, by the
                        Fan who made the Fan Payment to the Referred Creator which
                        resulted in the referral payment, or by the Referred Creator to
                        whom the Fan Payment was made which resulted in the referral
                        payment,
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                   for as long as is necessary to investigate the actual, threatened or
                   suspected breach(es) by you or the suspected unlawful or fraudulent
                   activity (as applicable). If following our investigation, we conclude that (i)
                   you have seriously or repeatedly breached any part of the Terms of
                   Service; (ii) you have attempted or threatened to breach any part of the
                   Terms of Service in a way which has or could have serious consequences
                   for us or another User (including actual or possible loss caused to us or
                   another User), and/or (iii) all or any part of referral payments due to you
                   result from unlawful or fraudulent activity, we may notify you that you have
                   forfeited all or any part of your referral payments.

              b.   We may also withhold all or any part of the referral payments due to you
                   but not yet paid out if we receive notice that you have secured,
                   encumbered, pledged, assigned, or otherwise allowed a lien to be placed
                   on, referral payments. We undertake no duty to pay referral payments to
                   third-party lienholders and may withhold payment of Creator Earnings until
                   the lien has been removed.

              c.   We shall not have any responsibility to you if we withhold or forfeit any
                   payment due to you under the OnlyFans Referral Program where we have a
                   right to do so under these Referral Program Terms.

              d.   If we are withholding all or any part of the referral payments due to you
                   and we determine that part of the referral payments withheld by us is
                   unrelated to breaches by you of the Terms of Service or suspected
                   unlawful or fraudulent activity, then we may arrange for you to be paid the
                   part of the referral payments which is unrelated to breaches by you of the
                   Terms of Service or suspected unlawful or fraudulent activity. However,
                   you agree that if we consider that your breach(es) of the Terms of Service
                   has or may cause us loss, we may withhold all referral payments due to
                   you but not yet paid and we may set off such amounts against any losses
                   suffered by us.

    Last updated: December 2021


    COMPLAINTS POLICY
       1.     Introduction: This document set out our complaints policy. If you are a User of
              OnlyFans, this Complaints Policy forms part of your agreement with us.

       2.     Who we are and how to contact us: OnlyFans is operated by Fenix International
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          Limited. We are a limited company registered in England and Wales, with
          company registration number 10354575 and we have our registered o]ce
          address at Fourth Floor, Imperial House, 8 Kean Street, London, WC2B 4AS.

    3.    Interpretation: In this Complaints Policy, deened terms have the same
          meanings given to them in the Terms of Use for all Users. In addition, the term
          "business days" means any day which is not a Saturday, Sunday or public
          holiday in England.

    4.    Who can use this Complaints Policy? Whether or not you are a User of
          OnlyFans, you can use this Complaints Policy to alert us to any complaint
          which you have relating to OnlyFans.

    5.    How to make a complaint: If you have a complaint about OnlyFans (including
          any complaint about Content appearing on OnlyFans or the conduct of a User),
          please send your complaint to support@onlyfans.com including your name,
          address, contact details, a description of your complaint and, if your complaint
          relates to Content, the URL for the Content to which your complaint relates.
          If you are unable to contact us by email, please write to us at the following
          address: Fourth Floor, Imperial House, 8 Kean Street, London, WC2B 4AS.

    6.    How we will deal with complaints of illegal or non-consensual Content:
          Following receipt of your complaint of illegal or non-consensual Content under
          section 5 above:

          a.   we will take such steps as we consider to be appropriate to investigate
               your complaint within a timescale which is appropriate to the nature of
               your complaint;

          b.   if we require further information or documents from you, we will contact
               you to let you know;

          c.   we will in good faith investigate your complaint within seven (7) business
               days;

          d.   if we are satiseed that the Content is unlawful or non-consensual, we will
               immediately remove such Content, and we will notify you of our decision
               by email or other electronic message;

          e.   if we are satiseed that the Content is not unlawful or non-consensual, we
               will notify you of our decision by email or other electronic message.
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              Any dispute regarding our determination that Content is non-consensual will be
              submitted by us to a neutral arbitration association at our expense.

       7.     How we will deal with complaints related to copyright infringement: Complaints
              related to copyright infringement must be submitted in accordance with our
              DMCA Policy, and we will respond to copyright infringement complaints as set
              out in such policy.

       8.     How we will deal with other complaints: Following receipt of other complaints
              (including complaints related to other breaches of our Acceptable Use Policy)
              under section 5 above:

              a.   we will take such steps as we consider to be appropriate to investigate
                   your complaint within a timescale which is appropriate to the nature of
                   your complaint;

              b.   if we require further information or documents from you, we will contact
                   you to let you know;

              c.   we will in good faith take such actions as we consider appropriate to deal
                   with the issue which your complaint has raised. If you have complained
                   about Content which appears on OnlyFans and we are satiseed that the
                   Content otherwise breaches our Acceptable Use Policy, we will act quickly
                   to remove such Content;

              d.   we are not obligated to inform you of the outcome of your complaint.

       9.     Unjusti`ed or abusive complaints: If you are a User of OnlyFans, you warrant
              (which means you make a legally enforceable promise) that you will not make
              any complaint under this Complaints Policy which is wholly unjustieed, abusive,
              or made in bad faith. If we determine that you have breached this warranty, we
              may suspend or terminate your User account.

    Last updated: December 2021


    PLATFORM TO BUSINESS REGULATION TERMS
       1.     Introduction: These Platform to Business Regulation Terms form part of the
              Terms of Service.

       2.     Interpretation: In these Platform to Business Regulation Terms, unless
              otherwise stated, deened terms have the same meanings given to them in the
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          Terms of Use for all Users.

    3.    Do these Platform to Business Regulation Terms apply to me? These Platform
          to Business Regulation Terms only apply to Creators who are established or
          resident in the European Union or the United Kingdom (also referred to as "you"
          and "your"). If these Platform to Business Regulation Terms apply to you, they
          form part of your agreement with us.

    4.    What do these Platform to Business Regulation Terms include? These
          Platform to Business Regulation Terms provide information about our practices
          to comply with the fairness and transparency requirements set out in EU
          Regulation 2019/1150 (the "Platform to Business Regulation").

    5.    Promoting Creators via other distribution channels: We may choose to
          promote you via our Instagram (www.instagram.com/onlyfans) and Twitter
          (www.twitter.com/onlyfans) social media accounts.

    6.    Ranking on OnlyFans: We randomly suggest potential Creators for a User to
          follow based on the Creators that have earned money on OnlyFans in the
          previous 30 days. We have no ranking system. There is no search/discovery
          feature on OnlyFans.

    7.    Complaints: If you have a complaint about:

          a.   any alleged non-compliance by us with any obligations laid down in the
               Platform to Business Regulation which affect you; or

          b.   technological issues relating directly to OnlyFans and which affect you; or

          c.   measures taken by us or our conduct which relate directly to OnlyFans and
               which affect you,

          then please submit your complaint to support@onlyfans.com.

    8.    Complaint-handling process: Following receipt of your complaint under section
          7 above, we will:

          a.   consider your complaint and the follow-up which we may need to give to
               your complaint (including asking you for further information or
               documents) in order to adequately address the issue raised;

          b.   process your complaints within a reasonable time, taking into account the
               importance and complexity of the issue raised; and
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              c.   communicate to you in plain and intelligible language by email or by
                   message to your OnlyFans account the outcome of the internal complaint-
                   handling process.

       9.     Mediation service: If your complaint under section 7 above is not resolved to
              your satisfaction through our internal complaint-handling process as set out in
              section 8 above, then you may access the mediation service by contacting:
              Centre for Effective Dispute Resolution
              International Dispute Resolution Centre
              P2B Panel of Mediators
              70 Fleet Street
              London
              EC4Y 1EU
              United Kingdom
              https://www.cedr.com/p2bmediation/
              You and we will act in good faith throughout any mediation. However, any
              attempt to reach agreement through mediation on the settlement of a dispute
              between us will not affect our or your rights to commence legal proceedings at
              any time before, during or after the mediation process, as such rights are set
              out in our Terms of Use for all Users.

    Last updated: November 2021
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    ©2022 OnlyFans                  Blog                            Branding

    Help                            Store                           Terms of Service

    About                           DMCA                            Privacy

    Contact                         How it works                    Referrals

                                    USC 2257                        Acceptable Use Policy

                                    Complaints Policy               Cookie Notice

                                    Standard Contract between Fan   Statement
                                    and Creator
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